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 1                         UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
 2
                              CASE NO. 17-CV-24284-MGC
 3
       MICHAEL FOX,
 4     on behalf of himself and
       all others similarly situated,
 5                                              Miami, Florida

 6                       Plaintiff(s),
                                                December 9, 2021
 7                 vs.

 8     THE RITZ-CARLTON HOTEL
       COMPANY, LLC,
 9
                      Defendant(s).       Pages 1 - 19
10     -----------------------------------------------------------

11                               MOTION HEARING
                    TRANSCRIBED FROM DIGITAL AUDIO RECORDING
12                  BEFORE THE HONORABLE JOHN J. O'SULLIVAN
                         UNITED STATES MAGISTRATE JUDGE
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 1     Thereupon,

 2     the following proceedings were held by telephone:
 3               THE COURT:    Good morning.     This is Judge O'Sullivan.

 4     We are here in the case today of Michael Fox v. The Ritz

 5     Carlton Hotel Company, case No. 17 Civil 24284.

 6               Can I have appearances for the plaintiff first.

 7               MR. FRANCIS:     Yes.    Good morning, your Honor.     This is

 8     Jim Francis for the plaintiff.        With me is my cocounsel Lewis

 9     Saul, Ed Coleman, and David Marco.

10               THE COURT:    OK.   Good.

11               Who is here for the defendant?

12               MR. WATSTEIN:     Good morning, your Honor.      This is Ryan

13     Watstein for Ritz Carlton, and I have my colleague Abigail Howd

14     on the line as well.

15               THE COURT:    OK.   Good.

16               All right.    This was set by the plaintiff, right?

17     What is the problem?

18               MR. FRANCIS:     Correct.

19               THE COURT:    Who wants to address the court?

20               MR. FRANCIS:     Your Honor, this is Jim Francis.       I am

21     happy to address the court.

22               THE COURT:    OK.   Good.    Go ahead.

23               MR. FRANCIS:     Did you want me to proceed, your Honor?

24               THE COURT:    Yes, please.

25               MR. FRANCIS:     OK.    So, your Honor, we are here in
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 1     connection with a motion to quash a subpoena and/or a motion

 2     for protective order relating to a subpoena that was served

 3     upon a third party in this case by the name of Meredith

 4     Silverman.

 5               Just by way of some quick background, this is a class

 6     action that has been brought against the Ritz challenging its

 7     imposition of automatic gratuities in violation of a Miami-Dade

 8     ordinance as well as FDUTPA.

 9               The case has been around for a while.         It's been back

10     from the Eleventh Circuit.      We have taken discovery.       Discovery

11     closed on November 12th.      During the last couple of weeks of

12     discovery, the defendant Ritz served a subpoena upon

13     Ms. Silverman, again, who is a third party, who at the

14     plaintiff's deposition was identified as his girlfriend at that

15     time, as of -- within the last month.

16               The subpoena --

17               THE COURT:    I'm sorry.    When you say "at that time,"

18     you mean at the time of the depo or at the time that he got the

19     check that had the automatic gratuity?

20               MR. FRANCIS:     Great question, your Honor.      He

21     identified that she was his girlfriend at the time of the

22     deposition, within the last month, not at the time that he was

23     at the Ritz in April of 2017.       That is one of the reasons that

24     the subpoena seeks completely irrelevant information.            That

25     time period, he did not know her then and they weren't
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 1     acquainted at all.     She was not around.      She wasn't a part of

 2     that experience and she knows nothing about that transaction.

 3               I would also point out to your Honor that in addition

 4     to the fact that she is his girlfriend now, and she wasn't

 5     then, a day before the Ritz served the subpoena they

 6     supplemented their initial disclosures with 41 new witnesses.

 7     That is not germane to this particular motion, but they have

 8     never identified this person, this witness, even though they

 9     knew about her.     So they did not think, pursuant to Rule

10     26(a)(1)(A)(i), that she was somebody who had knowledge about

11     the claims or defenses in the case.        So that is another reason.

12               In addition, the Ritz has asserted to us that their

13     basis for seeking her deposition was in connection with finding

14     out the plaintiff's tipping habits.        First, number one, the

15     plaintiff's tipping habits aren't at issue in this case.           This

16     case is not about the disgorgement of voluntary tips; it is

17     about the disgorgement of automatic gratuities.          So it has

18     nothing to do with the plaintiff's tipping practices.

19               Finally, the --

20               THE COURT:    Let me ask you a question while you are on

21     that point.    Wouldn't that go to damages?       In other words, if

22     you are putting a 20 percent automatic gratuity and he would

23     have tipped 25 percent, wouldn't that diminish any damages to

24     any member of the class?

25               MR. FRANCIS:     We don't think so, your Honor, because
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 1     we think the case law provides that where there is improper or

 2     no notice given, it is the full amount of the gratuity or,

 3     excuse me, the service charge that gets returned.          So we do not

 4     think it is relevant to damages.

 5               We are happy to brief that, but I think there is also

 6     another reason why the motion to quash should be granted and/or

 7     the motion for protective order granted, and that is that the

 8     best evidence -- even if the plaintiff's tipping habits are

 9     relevant to damages, as your Honor just inquired about, they

10     have gotten the best evidence.       They asked him at his

11     deposition.    He answered those questions about what his tipping

12     habits were and are.      So they have it from the direct source.

13               THE COURT:    That is not a very good argument because

14     you, of course, get to test the veracity of the deponent,

15     especially when he is a party in the case.         If the plaintiff

16     gets up or the defendant says I did nothing wrong, you

17     shouldn't be able to take any other depositions because they

18     said they didn't do anything wrong?        No, you get to depose

19     other people to see whether or not what the person is saying is

20     corroborated or is truthful or is not.

21               So that is not a very persuasive argument, that you

22     asked my client, when you need to take what he said as being

23     true.   I don't think anyway.      That is the whole purpose of

24     cross-examination, is to attack people's credibility, and one

25     way to do that is by having another source who said something
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 1     different.    I don't know what she is going to say.

 2               Go ahead.

 3               MR. FRANCIS:     So as I said, your Honor, I think the

 4     fact they didn't even disclose her as a witness that they think

 5     would be helpful to their defenses, and so we think under Rule

 6     26(a)(1)(A)(i) they can't take her deposition.

 7               There is also a less-intrusive means by doing this, if

 8     the court finds that there is even a basis for them to get any

 9     information from her.      They could certainly propound written

10     interrogatories pursuant to Rule 30(c).

11               THE COURT:    I don't understand.      Maybe there is a

12     reason why she shouldn't be deposed.        We could do that for

13     every deponent.     We don't do that except for in very special

14     circumstances, where maybe the person is sick or not available

15     or is busy running the country or running a business.

16               Just because she doesn't want to be deposed -- I mean,

17     deposition is the normal way to go unless there is some

18     exception why I should allow written interrogatories or written

19     deposition questions.

20               MR. FRANCIS:     No, I understand.

21               THE COURT:    That would be the case with every witness.

22     Why take any live depositions, just send them the questions and

23     then the lawyer can look at it, discuss it with them, and give

24     them the answers.

25               MR. FRANCIS:     No, your Honor, I totally understand
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 1     that, which is why I think I led with the fact she didn't even

 2     know him at the time in question.        So whatever his tipping

 3     habits were, even if relevant, whatever his tipping habits are

 4     now has nothing to do with what has happening at the time.

 5               THE COURT:    Got it.

 6               What does the defendant say?

 7               MR. WATSTEIN:     Yes, your Honor.     This is Ryan

 8     Watstein.

 9               Let me just give you a little bit of background.          I

10     will try to keep it as short as possible.         It is important

11     because this issue is connected with five motions that we filed

12     last Friday, including a motion for sanctions.

13               So this case is about -- the plaintiff claims he was

14     damaged when Ritz Carlton automatically charged him 18 percent

15     gratuity charges without providing notice.         He said on

16     information and belief, and without ever having stepped foot in

17     another Ritz Carlton in Florida, that Ritz routinely misled

18     Florida customers by imposing these charges without notice at

19     30 or so restaurants.

20               The case has been pending for four years.         Plaintiff

21     took virtually no discovery, no effort to determine whether the

22     information and belief allegations were true, didn't depose a

23     single hotel employee, didn't depose a single class member, a

24     single Ritz Carlton customer, didn't interview a single Ritz

25     Carlton customer from any hotel throughout the State of
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 1     Florida.

 2                Ritz, on the other hand, did engage in discovery,

 3     spending an exorbitant amount of money to prove plaintiff's own

 4     account of his experiences at Ritz Carlton as well as his

 5     information and belief allegations about class members'

 6     experiences were patently false.       I won't go into detail on

 7     that.   We have explained all this in our pending motion for

 8     summary judgment and our class certification briefing.

 9                I will note that we obtained over 300 pages of

10     declarations from class members and hotel employees with

11     personal knowledge, all of which show that no one was misled or

12     damaged.    Plaintiff has done nothing at all to rebut this.

13                As a result of our evidence and their failure to do

14     discovery, they have been forced to engage in a litany of

15     improper evidentiary tactics, all of which are outlined in our

16     pending motion for sanctions, which we filed last week.

17                THE COURT:   What does that have to do with whether or

18     not this woman should be deposed?        I don't want to hear about

19     what has gone on otherwise.

20                MR. WATSTEIN:    Sure.

21                THE COURT:   I want to hear about why this woman is

22     relevant to your defenses in this case or to the plaintiff's

23     claims.

24                MR. WATSTEIN:    Understood, and I just wanted to kind

25     of set that up because this is mentioned in that motion that
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  1    is, I believe, ultimately going to be before your Honor.

  2               Skipping ahead to why we are here today, so relevant

  3    to this particular hearing, here is the piece of what we call

  4    the evidentiary shell game that relates to today's hearing.           So

  5    despite plaintiff being the named plaintiff in a multimillion

  6    dollar class action and forcing us to spend four years,

  7    hundreds of thousands of dollars on litigation expenses, in a

  8    case that is all about gratuity practices and whether he paid

  9    more than he otherwise would have as a result of this alleged

 10    lack of notice on a restaurant menu, he refused to identify in

 11    discovery responses a single restaurant that he dined at in the

 12    last four years, and he also claimed that no one had knowledge

 13    of his tipping or dining practices.

 14               He also failed to produce, despite our request, a

 15    single restaurant receipt over the last four years that would

 16    show his normal gratuity practices.        Then when we took his

 17    deposition, we found out why.

 18               He destroyed and didn't preserve a single restaurant

 19    receipt, despite having admitted dining out over 100 times or

 20    over 200 times since filing this lawsuit.         In other words, he

 21    spoliated the sole evidence that would show us, without needing

 22    to depose a third party, what his regular gratuity practices

 23    were.

 24               THE COURT:   Well, that evidence is available

 25    otherwise, most likely, assuming that he paid by credit card.
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  1    You just subpoena the credit card company and you will see what

  2    he signed.

  3               MR. WATSTEIN:    Well, right.

  4               THE COURT:    We are not here on a spoliation.      You seem

  5    to be veering off.      I know you think I am going to do this

  6    sanctions motion.     I am not going to do it and I will tell you

  7    why, because I am going to be no longer working after a month

  8    from today.    So I am not going to be doing your sanctions

  9    motion.    So you don't have to warm me up for the sanctions

 10    motion.    What you need to do is convince me why this woman's

 11    testimony is relevant and why you should be permitted to depose

 12    her.

 13               MR. WATSTEIN:    Sure.   Understood.

 14               What I'm getting at here is we didn't have another way

 15    to get this information.      By the way, we asked him in

 16    deposition about the credit card and he basically said that,

 17    well, the gratuities aren't on the credit card, just the total

 18    amount of the charge.      So we did think about that and look into

 19    doing that.

 20               THE COURT:    So then you have no spoliation.      What did

 21    he spoil?    If he didn't add the tip to the receipt, he can do

 22    whatever he wants with the receipt because if he is leaving a

 23    cash tip, it is whatever he remembers.        There is no record of

 24    it.

 25               Anyway, let's get focused on her rather than these
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  1    other things that you contend he did that wasn't correct.

  2               MR. WATSTEIN:    Yes.   Let me just tell you, then, the

  3    seven and the related reasons why we think plaintiff's request

  4    for relief should be denied.

  5               THE COURT:   OK.

  6               MR. WATSTEIN:    Number one, Ms. Silverman failed to

  7    appear for her deposition without requesting any relief or

  8    raising a single objection herself.        All that was filed before

  9    her deposition, which was scheduled for November 12th, was an

 10    improper motion by the plaintiff, that he didn't have standing

 11    to file and that was stricken for failure to comply with the

 12    court rules.    We took a notice of nonappearance for her.         They

 13    didn't even attempt to contact your Honor's chambers until

 14    after they didn't show up for the deposition.         So that is

 15    number one.

 16               Number two, they didn't seek relief within 15 days of

 17    the occurrence as the grounds for relief, as required by your

 18    Honor's standing order.       We told them we would be taking her

 19    deposition on 10/28.      They didn't appear for her deposition and

 20    didn't contact your Honor's chambers until 11/16 at the

 21    earliest.

 22               Let's skip to substance because that is the most

 23    important.

 24               Substantively, assuming they had standing, assuming

 25    they had properly noticed or properly challenged the
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  1    deposition, plaintiff can't show that an incredibly short, like

  2    hour-long remote deposition would in any way burden

  3    Ms. Silverman.     It would take an hour or so out of her life and

  4    we can do it whenever is most convenient for her.

  5               The subpoena's also narrowly tailored to discover

  6    information that is critically relevant to this case.          Your

  7    Honor not knowing anything about the case identified a couple

  8    of the main reasons why we think her testimony is relevant, and

  9    that is what we have been telling the other side for over a

 10    month.

 11               So what are some of the ways?      Well, it is undisputed

 12    she dined with plaintiff numerous times, and this lawsuit is

 13    all about plaintiff's dining and tipping practices, and she is

 14    also the closest person to plaintiff.        So her testimony could

 15    show that he can't prove causation or damages on his FDUTPA

 16    claim if, for example, he routinely tips more than the 18

 17    percent automatic gratuity that was imposed.

 18               THE COURT:   They say that the measure of damages is

 19    the automatic gratuity, not the difference between what would

 20    have been paid.     Do you disagree with that?

 21               MR. WATSTEIN:    Absolutely we disagree with that, and

 22    that is an issue that is currently before the district court in

 23    a bunch of pending motions.       They can make that legal argument

 24    if they want, but we're allowed to take discovery to support

 25    our legal argument.
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  1               THE COURT:   OK.   Let me ask you another question.

  2    When did these folks start dating?

  3               MR. WATSTEIN:    I believe they started dating several

  4    years ago.    I understand that they were not dating in 2017 when

  5    he visited the Ritz Carlton, but my tipping practices haven't

  6    changed in two decades.

  7               THE COURT:   Do you know when?     Did they start dating

  8    last week, four years after the event --

  9               MR. WATSTEIN:    No, no.

 10               THE COURT:   -- or did they start dating in 2018, one

 11    year after the event?

 12               MR. WATSTEIN:    They have been dating for several years

 13    and they have lived together for around two years.

 14               THE COURT:   OK.

 15               MR. WATSTEIN:    So I mean, there is a reason -- we only

 16    took plaintiff's deposition in this case.         It is not like we

 17    are trying to harass them with dozens of depositions.          We have

 18    taken one deposition in four years in a multimillion dollar

 19    class action.     The only other person we want to depose is the

 20    one person who has knowledge of the named plaintiff's dining

 21    practices.    That's it.

 22               THE COURT:   All right.    What does the plaintiff say?

 23               Go ahead if you want to finish up.

 24               MR. WATSTEIN:    Well, I was going to list some more

 25    ways that her testimony could be relevant.
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  1               THE COURT:   OK.   Go ahead.    Tell me then.

  2               MR. WATSTEIN:    Yes.   Well, for example, to impugn his

  3    credibility, for example, he claimed that Ms. Silverman didn't

  4    know about the lawsuit, but it's strange logic that a

  5    significant other who lives with you for several years doesn't

  6    know that you are the named plaintiff in a class action

  7    lawsuit.    There are various things that she might say that

  8    would impugn his credibility, potentially expose biases, could

  9    expose the true extent of plaintiff's relationship with

 10    Mr. Saul, one of plaintiff's attorneys in this case, who we

 11    found out dined with plaintiff during his stay at the Ritz

 12    Carlton, the very stay that led to this lawsuit.          So it could

 13    help expose that this whole lawsuit was a setup, as we believe

 14    to be the case.     Of course, we don't know until we take the

 15    deposition.

 16               Then I would just point out as another independent

 17    reason that we should be allowed to take this deposition, we

 18    were prevented from obtaining this evidence sooner and through

 19    other sources because they didn't even disclose in their

 20    discovery responses any of the restaurants that plaintiff dined

 21    at, which discovery we served so we could do exactly what your

 22    Honor suggested, which is send subpoenas to restaurants and

 23    credit card companies asking for information.         But they refused

 24    to provide any -- they have asked for hundreds of thousands of

 25    pages of documents for Ritz Carlton, but they couldn't even
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  1    take the time to identify a few restaurants that plaintiff has

  2    dined at, and they also didn't preserve any of the receipts.

  3    So we are forced into this situation of having to take a

  4    deposition of this one person with knowledge.

  5               The last thing I would say is that courts routinely

  6    permit third-party depositions in situations where there is

  7    much less potential relevant information that they might

  8    possess.    I mean, one example is the Rodgers v. Herbalife case,

  9    where the plaintiff's spouse was deposed in a putative class

 10    action and the motion to quash that she filed, unlike here

 11    where plaintiff filed it, was denied.

 12               So for all these independent reasons we believe the

 13    court should allow us to take a short, remote deposition of

 14    Ms. Silverman.

 15               THE COURT:   OK.   For the plaintiff, anything further?

 16               MR. FRANCIS:    Yes, your Honor.    I mean, we have veered

 17    into a lot of different tangential matters that I don't think

 18    have anything to do with the particular hearing and/or matters

 19    before the court today, but I just have to respond to a couple

 20    of your Honor's questions and a couple of counsel's statements.

 21               First of all, it is not true that we did not depose

 22    anybody and that we didn't do anything in four years.          In fact,

 23    as Mr. Watstein just said, we have been pouring through written

 24    discovery for months and months and months and months, have

 25    been prosecuting this case and litigating this case for four
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  1    years.    We took it to the Eleventh Circuit.       We got a reversal.

  2    We're back.    We immediately, promptly started discovery.         He

  3    might not know about that because he only became counsel in

  4    this case within the last couple of months.         Prior to that it

  5    was Holland & Knight, and both sides were working very

  6    cooperatively.     There were no motions to compel.       There were no

  7    discovery issues.     Everything was very cooperative.       We had

  8    three mediations.     All of the sudden the case has taken a veer

  9    in the last two months for whatever reason.

 10               They mentioned that the plaintiff didn't identify any

 11    restaurants.    Well, Mr. Watstein just said they had his

 12    discovery responses months and months, if not before that.

 13    They could have brought this matter to the court's attention

 14    other than waiting until the last two weeks.         So some of this

 15    crying foul falls on deaf ears, and we are going to deal with

 16    the motion for sanctions independently in our own way and

 17    appreciate your Honor telling us, and sorry to hear or happy

 18    for you, if you're not going to be involved in our case, but

 19    let me just respond.

 20               Your Honor did ask counsel a pointed question and he

 21    was not familiar with the testimony.        The testimony is that

 22    Mr. Fox did not begin dating Ms. Silverman until 2018.           That's

 23    clear.    It is in the record.     It is in the deposition

 24    transcript.

 25               In terms of some of the other points, the spoliation
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  1    issue is a complete red herring, nonissue, and false.          I don't

  2    know about your Honor, but I don't keep every receipt from

  3    every restaurant I dine at year after year.         I just don't.    The

  4    only thing I have is I have stuff, credit cards if I want to

  5    see where I dined.      I don't keep those receipts.

  6               There was no request by the defendant to ask the

  7    plaintiff to preserve every receipt for every restaurant he ate

  8    at.   That is a nonissue.     If they certainly thought there was

  9    spoliation, this firm knows how to file those motions as well,

 10    and they never did.

 11               So again, this witness, the burden of her testifying

 12    here, because she is not going to provide any information that

 13    is germane to the claims or defenses in this case and, as I

 14    said, they never even identified her as a witness.          So if they

 15    thought she had discoverable information, they would have

 16    included her in the list of supplemented witnesses that they

 17    served on us with the other 41 new witnesses a day before they

 18    subpoenaed her.     So they don't think that she is a witness with

 19    knowledge, otherwise, they would have identified her.

 20               THE COURT:   OK.   All right.    Your motion to quash or

 21    for protective order is denied.       I find that Ms. Silverman may

 22    have information that is relevant to the claims, in particular,

 23    the most glaring is what his tipping habits are.

 24               The deposition actually indicates that he began dating

 25    her in 2017.    I'm quoting him:     Maybe early 2018.     I'm not
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  1    exactly sure.     Although he may not have been dating her in

  2    April of 2017, he was shortly thereafter.

  3               Whether the judge is going to allow that in as

  4    evidence, I don't know.      I'm sure you can make an argument that

  5    what he was doing in 2018 isn't relevant to what he was doing

  6    in 2017, and the trial judge will make that decision.

  7               I find that she does have or may have information that

  8    is relevant to the matters in this case and I am going to allow

  9    her deposition.

 10               I am being frank.    I'm very surprised that I'm even

 11    addressing this motion.      It seems pretty clear to me that she

 12    has relevant information and a short deposition is going to

 13    occur.    Anyhow, that is my ruling.

 14               Good luck to you guys.

 15               Stop fighting with each other, by the way.

 16               MR. WATSTEIN:    Thank you, your Honor.

 17               MR. FRANCIS:    Thank you, your Honor.

 18               THE COURT:    Bye.

 19               (Adjourned)

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                                C E R T I F I C A T E



               I hereby certify that the foregoing is an accurate

        transcription to the best of my ability of the digital audio

        recording in the above-entitled matter.



        December 11, 2021         s/ Joanne Mancari
                                  Joanne Mancari, RPR, CRR, CSR
                                  Court Reporter
                                  jemancari@gmail.com
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